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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Th re: Chapter 11

HERCULES OFFSHORE, INC., ef al. Case No. 15-11685 (KJC)

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)
)
)
) Jointly Administered
)
Debtors.’ )
)

Re: D.I. 12

ORDER AUTHORIZING THE DEBTORS TO (I) ASSUME
THE RESTRUCTURING SUPPORT AGREEMENT WITH CERTAIN SENIOR
NOTEHOLDERS, (ID PAY AND REIMBURSE RELATED FEES AND EXPENSES

Upon the motion of the Debtors in the above-captioned cases for an order authorizing the
Debtors to (i) assume the Restructuring Support Agreement, and (ii) pay and reimburse the
reasonable and documented fees and out of pocket expenses incurred in connection with the
Restructuring Support Agreement pursuant to sections 105(a), 363 and 365 of the Bankruptcy
Code (the “Motion”);” and the Court having jurisdiction to consider the Motion and the relief
requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of
Reference from the United States District Court for the District of Delaware, dated February 29,
2012; and this Court having found that this is a core proceeding pursuant to 28 U.S.C. §
157(b)(2); and that this Court may enter a final order consistent with Article III of the United

States Constitution; and this Court having found that venue of this proceeding and the Motion in

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Cliffs Drilling Company (8934), Cliffs Drilling Trinidad L.L.C. (5205); FDT LLC (7581); FDT
Holdings LLC (4277); Hercules Drilling Company, LLC (2771); Hercules Liftboat Company, LLC (0791); Hercules
Offshore, Inc. (2838); Hercules Offshore Services LLC (1670); Hercules Offshore Liftboat Company LLC (5303);
HERO Holdings, Inc. (5475); SD Drilling LLC (8190), THE Offshore Drilling Company (4465); THE Onshore
Drilling Company (1072); TODCO Americas Inc. (0289); and TODCO International Inc. (6326). The Debtors’
corporate headquarters is located at 9 Greenway Plaza, Suite 2200, Houston, Texas 77046,

* The description of the Restructuring Support Agreement presented in the Motion is a summary of the principal
terms of the Restructuring Support Agreement, and is qualified in all respects by, and the parties’ obligations
thereunder are subject to, the actual terms and conditions of the Restructuring Support Agreement. Capitalized
terms used but not otherwise defined herein shall have the meaning ascribed to them in the Motion.

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this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the
Motion having been provided; and it appearing that the relief requested in the Motion is in the
best interest of the Debtors’ estates, their creditors and other parties-in-interest; and the Court
having found and determined that the Debtors’ decision to enter into the Restructuring Support
Agreement is a sound exercise of their business judgment, is consistent with their fiduciary
duties and is based on good, sufficient and sound business purposes and justifications; and after
due deliberation and cause appearing therefore, it is HEREBY ORDERED THAT:

1, The Motion is GRANTED as set forth herein.

2. The Debtors are authorized and directed to (i) assume the Restructuring
Support Agreement effective upon the entry of this Order, (11) comply with the terms thereof,
Gii) effect the relief granted herein, and (iv) take any and all actions necessary to implement the
terms of the Restructuring Support Agreement, provided that such authorization and direction
only applies to the Debtors and not to their non-debtor subsidiaries and affiliates.

3. The Restructuring Support Agreement shall be binding on the Debtors and
each of the Steering Group Members.

4, The failure to describe specifically or include any particular provision of
the Restructuring Support Agreement in this Order shall not diminish or impair the effectiveness
of such provision, it being the intent of the Court that the Restructuring Support Agreement be
assumed by the Debtors in its entirety.

5. The Debtors are authorized and directed to pay the Steering Group Fees
and Expenses in accordance with the terms of the Restructuring Support Agreement. Without
limiting any other provision of this Order, the Court finds that the Steering Group Fees and

Expenses provided under the Restructuring Support Agreement: (i) are necessary to the

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preservation of the Debtors’ estates and are approved and allowed as administrative expenses
pursuant to sections 503(b) and 507(a) of the Bankruptcy Code; and (ii) shall be payable
pursuant to the terms of the Restructuring Support Agreement. Under no circumstances shall the
Steering Group Fees and Expenses be subject to any otherwise applicable setoff, counterclaim or
recoupment. None of the Steering Group Fees and Expenses shall be subject to further approval
of the Court and no recipient of any Steering Group Fees and Expenses shall be required to file
any interim or final application with the Court as a condition precedent to the Debtors’ obligation
to pay Steering Group Fees and Expenses. None of the Steering Group Fees and Expenses shall
be subject to avoidance under Sections 542, 547 or 548 of the Bankruptcy Code.

6. The Restructuring Support Agreement shall be solely for the benefit of the
parties thereto and no other person or entity shall be a third-party beneficiary hereof. No entity,
other than the parties to the Restructuring Support Agreement, shall have any right to seck or
enforce specific performance of the Restructuring Support Agreement.

7. The Restructuring Support Agreement and any related agreements,
documents, or other instruments may be modified, amended or supplemented by the parties
thereto, solely in accordance with the terms thereof, without further order of the Court.

8, For the avoidance of doubt, the parties to the Restructuring Support
Agreement may serve any notices on the Debtors in accordance with the terms of the
Restructuring Support Agreement without other or further order of the Court notwithstanding
Bankruptcy Code section 362 or any order of the Court, to the extent applicable.

9, Notwithstanding Bankruptcy Rules 6004(h) and 6006, this Order shall

take effect immediately upon its entry.

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10. The terms and conditions of this Order shall be immediately effective and

enforceable upon entry of this Order.
{L, All objections to the Motion or relief requested therein that have not been

withdrawn, waived or settled, and all reservations of rights included therein, are overruled on the

merits,

1. This Court shall retain jurisdiction to hear and determine all matters

arising from the implementation of this Order.

Dated: Nu, dt 2015 — _

THE HONORABLE KEVIN J. C
UNITED STATES BANKRUPTCY GE

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